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11                         UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
14     BOARD OF TRUSTEES OF SHEET                  Case No. 5:22-cv-00236-JGB-
       METAL WORKERS’ PENSION PLAN OF              KKx)
15     SOUTHERN CALIFORNIA, ARIZONA
16     AND NEVADA; BOARD OF TRUSTEES               ORDER AND JUDGMENT ON
       OF SHEET METAL WORKERS’ HEALTH              STIPULATION FOR JUDGMENT
17
       PLAN OF SOUTHERN CALIFORNIA,
18     ARIZONA AND NEVADA; BOARD OF
19     TRUSTEES OF SOUTHERN CALIFORNIA
       SHEET METAL JOINT APPRENTICESHIP
20     AND TRAINING COMMITTEE; BOARD
21     OF TRUSTEES OF SHEET METAL
       WORKERS LOCAL 105 RETIREES’
22     SUPPLEMENTAL HEALTH CARE TRUST
23     FUND; BOARD OF TRUSTEES OF
       SOUTHERN CALIFORNIA SHEET
24
       METAL WORKERS’ 401(A) PLAN;
25     INTERNATIONAL ASSOCIATION OF
26     SHEET METAL AIR, RAIL AND
       TRANSPORTATION WORKERS, LOCAL
27     UNION NO. 105 UNION DUES CHECK-
28     OFF AND DEFERRED SAVINGS FUND;
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 1     BOARD OF TRUSTEES OF SOUTHERN
       CALIFORNIA LABOR MANAGEMENT
 2     COOPERATION TRUST; BOARD OF
 3     TRUSTEES OF SHEET METAL AND AIR
       CONDITIONING CONTRACTORS
 4     NATIONAL ASSOCIATION OF
 5     SOUTHERN CALIFORNIA; AND BOARD
       OF TRUSTEES OF SHEET METAL
 6
       WORKERS LOCAL 105 HEALTH
 7     REIMBURSEMENT PLAN,
 8
             Plaintiffs,
 9
10                  v.
11     R B SHEET METAL, INC.; AND ROBERT
12     WILLIAM BARNES, individual
13           Defendants.
14
15         Pursuant to the Stipulation by and between Plaintiffs Board of Trustees of
16   Sheet Metal Workers’ Pension Plan of Southern California, Arizona and Nevada
17   (“Pension Plan”); Board of Trustees of Sheet Metal Workers’ Health Plan of
18   Southern California, Arizona and Nevada (“Health Plan”); Board of Trustees of
19   Southern California Sheet Metal Joint Apprenticeship and Training Committee
20   (“JATC”); Board of Trustees of Sheet Metal Workers Local 105 Retirees’
21   Supplemental Health Care Trust Fund (“Retirees Plan”); Board of Trustees of
22   Southern California Sheet Metal Workers’ 401(a) Plan (“401(a) Plan”);
23   International Association of Sheet Metal Air, Rail and Transportation Workers,
24   Local Union No. 105 Union Dues Check-Off and Deferred Savings Fund (“Dues
25   and Savings Fund”); Board of Trustees of Southern California Labor Management
26   Cooperation Trust (“LMCT”); Board of Trustees of the Sheet Metal and Air
27   Conditioning Contractors National Association of Southern California (“Industry
28   Fund”); and Board of Trustees of Sheet Metal Workers Local 105 Health
     Case 5:22-cv-00236-JGB-KK Document 10 Filed 02/15/22 Page 3 of 4 Page ID #:48




 1   Reimbursement Plan (“HRA”) (collectively the “Plans” or “Trust Funds”), and
 2   Defendants, Robert William Barnes (“Individual Defendant”) and R B Sheet
 3   Metal, Inc. (“Company”), the Court has considered the matter fully and concluded
 4   that good cause exists to approve the parties’ Stipulation in its entirety.
 5                  Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND
 6   DECREED as follows:
 7         1.       That the Company and Individual Defendant agree that they are
 8   indebted to the Plans in the total amount of $36,702.11 as follows: $18,007.53 in
 9   audit contributions conducted for the period of January 1, 2016 through March 31,
10   2020; $3,601.50 in liquidated damages for late payment or nonpayment of the
11   audit contributions for the period of January 1, 2016 through March 31, 2020;
12   $2,593.08 in interest for late payment or nonpayment of the audit contributions for
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     the period of January 1, 2016 through March 31, 2020; and attorney's fees in the
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     amount of $12,500.00.
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           2.       Judgment is entered in favor of the Plans and against the Company and
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     Individual Defendant, jointly and severally, in the amount of $36,702.11 for
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     delinquent employee benefit plan contributions, accrued liquidated damages,
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     interest, attorney fees and costs, together with post-judgment interest thereon at the
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     rate of 12% per annum as of the date of the Judgment.
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           3.       The Individual Defendant agrees that they are personally liable jointly
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     and severally for the total amount noted in paragraph 2 of the Stipulation for
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     Judgment and that the Plans can offset any benefits to which they are or may be
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     entitled by the amount noted in paragraph 2 of the Stipulation for Judgment, less
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     any credits.
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           4.       This Court retains jurisdiction over this matter through April 1, 2023 to
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     enforce the terms of any judgment entered hereunder, to order appropriate injunctive
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                                                 2
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 1   and equitable relief, to make appropriate orders of contempt, and to increase the
 2   amount of judgment based upon additional sums owed to the Plans by Defendants.
 3         IT IS SO ORDERED.
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 5   Dated: February 15, 2022             _______________________________
                                               Hon. Jesus G. Bernal
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